    Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 1 of 35
                                  22-16711

                                   IN THE


    United States Court of Appeals
                      FOR THE NINTH CIRCUIT

                      d
            In re: PG&E CORPORATION SECURITIES LITIGATION ,
PUBLIC EMPLOYEES RETIREMENT ASSOCIATION OF NEW MEXICO , The Class;
 YORK COUNTY ON BEHALF OF THE COUNTY OF YORK RETIREMENT FUND ;
  CITY OF WARREN POLICE AND FIRE RETIREMENT SYSTEM ; MID -JERSEY
         TRUCKING INDUSTRY & LOCAL NO . 701 PENSION FUND ,
                                                          Plaintiffs-Appellants,
                                   —v.—

ANTHONY F. EARLEY, JR.; GEISHA J. WILLIAMS; NICKOLAS STAVROPOULOS; JULIE
M. KANE; CHRISTOPHER P. JOHNS; PATRICK M. HOGAN; BARBARA L. RAMBO;
                    (Caption continued on inside cover)

              ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA



           REPLY BRIEF FOR PLAINTIFFS-APPELLANTS




JAMES M. WAGSTAFFE                           DARREN J. ROBBINS
FRANK BUSCH                                  ROBBINS GELLER RUDMAN
WAGSTAFFE , VON LOEWENFELDT,                   & DOWD , LLP
  BUSCH & Radwick, LLP                       655 West Broadway, Suite 1900
100 Pine Street, Suite 2250                  San Diego, California 92101
San Francisco, California 94111              (619) 231-1058
(415) 357-8900
                                             WILLOW E. RADCLIFFE
THOMAS A. DUBBS                              ROBBINS GELLER RUDMAN
CAROL C. VILLEGAS                              & DOWD LLP
JEFFREY A. DUBBIN                            1 Montgomery Street, Suite 1800
LABATON SUCHAROW, LLP                        San Francisco, California 94104
140 Broadway, 34th Floor                     (415) 288-4545
New York, New York 10005
(212) 907-0700
                           Attorneys for Appellants
    Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 2 of 35


DAVID S. THOMASON ; DINYAR B. MISTRY; LEWIS CHEW; FRED J. FOWLER ;
MARYELLEN C. HERRINGER ; RICHARD C. KELLY; ROGER H. KIMMEL ; RICHARD
A. MESERVE ; FORREST E. MILLER ; BARRY LAWSON WILLIAMS ; ROSENDO G.
PARRA ; ANNE SHEN SMITH ; ERIC D. MULLINS ; BARCLAYS CAPITAL , INC .; BNP
PARIBAS SECURITIES CORPORATION ; MORGAN STANLEY & CO . LLC; MUFG
SECURITIES AMERICAS , INC .; WILLIAMS CAPITAL GROUP, L.P., AKA SIEBERT
WILLIAMS SHANK CO ., LLC; CITIGROUP GLOBAL MARKETS , INC .; J.P. MORGAN
SECURITIES , LLC; MERRILL LYNCH , PIERCE FENNER & SMITH , INC , AKA B of
A Securities, Inc.; MIZUHO SECURITIES USA LLC; GOLDMAN SACHS & CO ;
RBC CAPITAL MARKETS , LLC; WELLS FARGO SECURITIES , LLC; BNY MELLON
C APITAL M ARKETS , LLC; TD S ECURITIES (USA), LLC; C. L. K ING &
ASSOCIATES , INC .; GREAT PACIFIC SECURITIES ; CIBC WORLD MARKETS CORP.;
SMBC NIKKO SECURITIES AMERICA , INC .; U.S. BANCORP INVESTMENTS , INC .;
M ISCHLER F INANCIAL G ROUP, I NC .; B LAYLOCK VAN , LLC; S AMUEL A.
RAMIREZ & COMPANY, INC .; MFR SECURITIES , INC .,
                                                     Defendants-Appellees,
                                 —and—

                          PG&E CORPORATION ,
                                                                Defendant.
           Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 3 of 35




                                         TABLE OF CONTENTS


                                                                                                                 Page

TABLE OF AUTHORITIES .................................................................................. ii

SUMMARY OF THE ARGUMENT...................................................................... 1

ARGUMENT......................................................................................................... 3

I.      THE STAY SHOULD BE REVERSED ....................................................... 3

        A.       The District Court’s Stated Rationale for the Stay Is Insufficient ....... 3

        B.       The District Court Abused Its Discretion by Abdicating Its Duty
                 to Rule on the Matters Within Its Exclusive Jurisdiction .................... 5

        C.       The Stay Falls Outside of the Court’s Reasonable Discretion
                 Because It Prejudices Plaintiffs-Appellants While Offering No
                 Benefits.............................................................................................. 8

II.     THIS COURT HAS JURISDICTION OVER THIS APPEAL ....................12

        A.       Jurisdiction Under Moses & Blue Cross ............................................13

                 1.       The Stay Has Placed Plaintiffs-Appellants “Out of Court” ...... 15

                 2.       Defendants-Appellees’ “Indefinite” Argument Is
                          Meritless .................................................................................20

                 3.       Plaintiffs-Appellants Need Not Provide Additional
                          Evidence of Abdication by the District Court .......................... 23

        B.       Jurisdiction Under Cohen..................................................................25

III.    CONCLUSION ..........................................................................................26




                                                           i
          Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 4 of 35




                                   TABLE OF AUTHORITIES

                                                                                                      Page(s)

Cases

Am. Mfrs. Ins. Co. v. Edward D. Stone, Jr. & Assoc.,
  743 F.2d 1519 (11th Cir. 1984) ........................................................................14

Blue Cross & Blue Shield of Alabama v. Unity Outpatient Surgery
   Center, Inc.,
   490 F.3d 718 (9th Cir. 2007) ..................................................................... passim

Chicot Cnty. v. Sherwood,
  148 U.S. 529 (1893) .....................................................................................6, 13

Cohen v. Beneficial Indus. Loan Corp.,
  337 U.S. 541 (1949) ................................................................................... 13, 25

Cohens v. Virginia,
  19 U.S. 264 (1821)...........................................................................................13

Davis v. Walker,
  745 F.3d 1303 (9th Cir. 2014) .............................................................. 14, 21, 25

Dependable Highway Express, Inc. v. Navigators Ins. Co.,
  498 F.3d 1059 (9th Cir. 2007) .................................................................... 3, 7-8

Deposit Guar. Nat’l Bank v. Roper,
  445 U.S. 326 (1980) .........................................................................................18

Hines v. D’Artois,
   531 F.2d 726 (5th Cir. 1976) ............................................................................14

Jacobson v. Persolve, LLC,
   No. 14–CV–00735–LHK, 2014 WL 4090809
   (N.D. Cal. Aug. 19, 2014) ................................................................................18

King v. Cessna Aircraft Co.,
   505 F.3d 1160 (11th Cir. 2007) ........................................................................14

Moses H. Cone Memorial Hosp. v. Mercury Construction Corp.,
  460 U.S. 1 (1983)....................................................................................... 13, 14

                                                       ii
          Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 5 of 35




Rojas-Hernandez v. Puerto Rico Elec. Power Auth.,
   925 F.2d 492 (1st Cir. 1991) ............................................................................14

Silberkleit v. Kantrowitz,
   713 F.2d 433 (9th Cir. 1983) ...................................................................... 6, 7, 8

Stanley v. Chappell,
   764 F.3d 990 (9th Cir. 2014) .......................................................... 21, 23, 24, 25

Tuller v. Tintri, Inc.,
   No. 17-cv-05714-YGR, 2018 WL 4385652
   (N.D. Cal. Sept. 14, 2018)..................................................................................6

United Nat’l Ins. Co. v. R & D Latex Corp.,
  141 F.3d 916 (9th Cir. 1998) ..............................................................................4

In re Worldcom, Inc. Sec. Litig.,
    234 F. Supp. 2d 301 (S.D.N.Y. 2002) ..............................................................12

Yong v. INS,
  208 F.3d 1116 (9th Cir. 2000) ............................................................................3

Docketed Cases

In re Avon Prods. Inc. Sec. Litig.,
    No. 1:19-cv-01420-MKV (S.D.N.Y.)...............................................................19

In re Baxter Int’l Inc. Sec. Litig.,
    No. 1:19-cv-07786 (N.D. Ill.) ..........................................................................19

In re CenturyLink Sales Pracs. & Sec. Litig.,
    No. 0:18-cv-00296-MJD-JFD (D. Minn.) ........................................................19

In re Chi. Bridge & Iron Co. N.V. Sec. Litig.,
    No. 1:17-cv-01580-LGS (S.D.N.Y.) ................................................................19

Deka Inv. GmbH v. Santander Consumer USA Holdings Inc.,
  No. 3:15-cv-02129-K (S.D. Tex.) ....................................................................19

Klein v. Altria Grp., Inc.,
   No. 3:20-cv-00075-DJN (E.D. Va.) .................................................................19



                                                      iii
           Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 6 of 35




In re Mercury Interactive Corp. Sec. Litig,
    No. 5:05-cv-3395 (N.D. Cal.) ..........................................................................12

In re PG&E Corp.,
    No. 19-30088 (Bankr. N.D. Cal.) .....................................................................11

Peace Officers’ Annuity & Benefit Fund of Ga. v. DaVita Inc.,
  No. 1:17-cv-00304-WJM-NRN (D. Colo.).......................................................19

Pearlstein v. Blackberry Ltd.,
  No. 1:13-cv-07060-CM (S.D.N.Y.)..................................................................19

In re Perrigo Co. PLC Sec. Litig.,
    No. 1:19-cv-00070-DLC (S.D.N.Y.) ................................................................19

Police Ret. Sys. of St. Louis v. Granite Constr. Inc.,
   No. 3:19-cv-04744-WHA (N.D. Cal.) ..............................................................19

SEB Inv. Mgmt. AB v. Align Tech., Inc.,
  No. 3:18-cv-06720-VC (N.D. Cal.) ..................................................................19

SEB Inv. Mgmt. AB v. Symantec Corp.,
  No. 3:18-cv-02902-WHA (N.D. Cal.) ..............................................................19

In re Snap Inc. Sec. Litig.,
    No. 2:17-cv-03679-SVW-AGR (C.D. Cal.) .....................................................19

In re Spectrum Brands Sec. Litig.,
    No. 3:19-cv-00347-JDP (W.D. Wis.) ...............................................................19

Statutes

15 U.S.C. §78aa ................................................................................................7, 16

Other Authorities

13 Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Juris.
   § 3527 Exclusive Federal Court Jurisdiction (3d ed. Apr. 2022
   update) .............................................................................................................16

Indefinite, Merriam-Webster.com, https://www.merriam-
   webster.com/dictionary/indefinite (last visited May 29, 2023) ......................... 22


                                                           iv
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 7 of 35




                       SUMMARY OF THE ARGUMENT

      The District Court has placed Plaintiffs-Appellants’ federal securities claims

against more than 40 Defendants—claims over which the District Court has

exclusive jurisdiction—on a lengthy and indefinite hold, impermissibly deferring to

an Article I court’s eventual resolution of bankruptcy claims against just two

Defendants. That process will take four to seven years at best. In doing so, the

District Court has abdicated its duty to adjudicate this action and has effectively shut

Plaintiffs-Appellants out of court, preventing them from pursuing their federal

securities claims against numerous non-Debtor Defendants.             That abdication,

together with the complete absence of any legitimate justification for the Stay,

warrants reversal of the Stay on the merits.

      Defendants-Appellees’ efforts to escape appellate review through misguided

jurisdictional challenges must fail. Controlling law is clear: This Court has appellate

jurisdiction because the lengthy and indefinite Stay severely prejudices Plaintiffs-

Appellants and deprives them (and the class of harmed investors they represent) of

the ability to have their claims against numerous non-Debtor Defendants heard by

an appropriate federal forum with exclusive jurisdiction over those claims.

      In Blue Cross, this Court explicitly held that stays lasting longer than 18

months are “sufficient to place the plaintiffs effectively out of court.” Blue Cross

& Blue Shield of Ala. v. Unity Outpatient Surgery Ctr., Inc., 490 F.3d 718, 723-24


                                           1
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 8 of 35




(9th Cir. 2007). Here, Plaintiffs-Appellants’ uncontroverted expert evidence shows

the PG&E bankruptcy proceeding to which the District Court has deferred is

reasonably expected to take between four to seven years to complete. See

Opening Brief (“OB”) at 17 n.9. Indeed, that process could take far longer, as the

Debtors have now filed their sixth motion to extend the claims objection

deadline. That motion (filed just 30 days ago) requests a 180-day further extension

of the claims objection deadline to December 18, 2023. Thus, four to seven years

is a conservative estimate that far exceeds the 18-month threshold the Blue Cross

court held constituted a “lengthy and indefinite stay[]” warranting appellate

review. See Blue Cross, 490 F.3d at 723-24.

      The District Court issued its stay with no explanation except one terse

paragraph asserting unspecified efficiencies.       However, the Stay creates no

efficiencies here. Quite the opposite. The Defendants in this action include more

than 40 parties that are not debtors in the PG&E bankruptcy case. The Bankruptcy

Court is an Article I court with no ability to issue decisions that bind the District

Court. Thus, no decision in the bankruptcy case could speed up or otherwise assist

the resolution of this action with respect to the non-Debtor Defendants. The only

plausible effect of the stay is substantial, mounting prejudice.

      Furthermore, the Plaintiffs-Appellants have a right to proceed in the District

Court. The District Court’s deference to the judgment of an Article I court is an


                                           2
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 9 of 35




improper abdication of its duty to decide the matters before it. The Stay not only

prejudices Plaintiffs-Appellants by causing tremendous additional delay, but also

unfairly jeopardizes their ability to collect any future judgment, as applicable

insurance funds are spent on settlements with other parties in the bankruptcy.

                                    ARGUMENT

I.    THE STAY SHOULD BE REVERSED

      While a district court’s stay ruling must be reviewed for abuse of discretion,

this standard is “somewhat less deferential” than the abuse of discretion used in other

contexts. Yong v. INS, 208 F.3d 1116, 1119 (9th Cir. 2000); see also Dependable

Highway Express, Inc. v. Navigators Ins. Co., 498 F.3d 1059, 1066 (9th Cir. 2007).

      Here, the District Court’s decision to stay the case was an abuse of discretion

in three distinct ways. First, it failed to assess the factors Blue Cross held a district

court must consider when instituting a stay. As in Blue Cross, the District Court’s

failure to articulate any consideration of these factors requires that the Stay at least

be vacated. Second, the only rationale the District Court provided for its decision

merely evidences its abdication of its obligation to decide the matters exclusively

before it. Third, the Stay falls outside the District Court’s reasonable discretion

because it prejudices Plaintiffs-Appellants while offering no benefits.

      A.     The District Court’s Stated Rationale for the Stay Is Insufficient

      The District Court’s stay order provided only a terse explanation of its

purported rationale: “[B]ecause of the overlap between the bankruptcy proceedings
                                           3
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 10 of 35




and the instant securities fraud action, the Court STAYS the action as to the

remaining director and officer defendants pending resolution of the bankruptcy

proceedings . . . . A stay of the entire action ‘is in the interest of efficiency’ and

would avoid proceeding on a piecemeal basis.” 1-ER-3-4 [ECF No. 217 at 1-2]

(citations omitted). As discussed in the Opening Brief, this explanation is facially

deficient because it fails to properly explain the District Court’s reasoning or that it

considered the relevant factors that must be weighed in assessing the propriety of a

stay. OB at 28-33. For example, the District Court did not explain which issues it

believed overlapped or why it believed it would be more efficient for the Bankruptcy

Court to reach those issues first. Id.

      As Blue Cross held, a district court granting a stay is “required” to balance the

factors relevant to “the interests of the parties, the public, and the court,” and without

a reasoned opinion showing the District Court conducted such inquiry, the matter

must be, at least, remanded. Blue Cross, 490 F.3d at 724. Here, the perfunctory,

conclusory assertion that certain issues might overlap and the District Court believes

the Stay promotes efficiency does nothing to elucidate the basis of the District

Court’s reasoning and therefore cannot be upheld under controlling precedent. Id.;

see also United Nat’l Ins. Co. v. R & D Latex Corp., 141 F.3d 916, 919 (9th Cir.

1998) (“[M]eaningful appellate review for abuse of discretion is foreclosed when

the district court fails to articulate its reasoning.”). Defendants-Appellees provide


                                            4
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 11 of 35




no explanation whatsoever as to why those deficiencies alone should not lead to the

Stay being vacated and the matter remanded.

      B.     The District Court Abused Its Discretion by Abdicating Its Duty
             to Rule on the Matters Within Its Exclusive Jurisdiction

      The District Court’s purported rationale was based on the “efficiency” of

permitting the Bankruptcy Court to resolve claims against two Defendants before

proceeding with claims against more than 40 other non-Debtor Defendants. As

Plaintiffs-Appellants’ Opening Brief explained, this rationale does not pass muster

because the claims against the non-Debtor Defendants can only be litigated in the

District Court—an Article III court—regardless of what occurs in the PG&E

bankruptcy case. OB at 30-33. Thus, the rationale provided evidence that the Stay

is an abdication by the District Court of its duty to decide the matters before it.

      As thoroughly explained in the Opening Brief, the only case relied upon by

the District Court for its supposition that efficiencies might arise is inapplicable on

numerous grounds. See 1-ER-3-4 [ECF No. 217 at 1-2] (citing Tuller v. Tintri, Inc.,

No. 17-cv-05714-YGR, 2018 WL 4385652, at *2 (N.D. Cal. Sept. 14, 2018)). That

unpublished district court order dealt with Securities Act claims, and the “special

circumstance” of pleadings that made it difficult to distinguish between debtors and

non-debtors, and instituted a stay while the automatic stay in bankruptcy was




                                           5
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 12 of 35




pending. OB at 30-33. It was not based on vague concepts of efficiency. Here, in

contrast, the automatic stay in the PG&E bankruptcy has long since ended. 1

        The only way any efficiency could be gained even theoretically from the Stay

is if the District Court were to defer to the Bankruptcy Court’s eventual rulings (if

any).    But to do so would be an improper abdication of the District Court’s

responsibility to decide the matters exclusively before it to an Article I court. Chicot

Cnty. v. Sherwood, 148 U.S. 529, 534-35 (1893) (district courts “cannot abdicate

their authority [to] another jurisdiction.”) (citations omitted).

        For example, in Silberkleit v. Kantrowitz the Ninth Circuit confronted this

exact issue—a district court staying Exchange Act claims based on a purported view

that doing so would avoid duplicative litigation. See 713 F.2d 433, 436 (9th Cir.

1983). The stay was reversed on appeal, upon a finding that “the district court had

no discretion to stay proceedings on these exclusively federal claims.” Id. 2



1
  Defendants-Appellees do nothing to rehabilitate Tuller, as they merely note that in
both cases there happen to be claims against both the debtor and non-debtor
defendants, a fact that is true in virtually any securities case with a related
bankruptcy. Opp. at 31-33.
2
  Defendants-Appellees’ only direct response to Silberkleit is that it dealt with an
abdication to a state court as opposed to another federal court. Opp. at 36. But that
distinction, for which Defendants-Appellees cite no authority, is irrelevant here.
State courts have no authority to adjudicate federal securities claims that are
exclusively the province of an Article III court—nor do Article I bankruptcy courts
(with respect to claims against defendants other than a debtor). The point the
Silberkleit court made was that a federal district court could not defer to some other,
inappropriate forum with respect to matters exclusively within its own jurisdiction.
                                            6
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 13 of 35




       The District Court’s stay fails under Silberkleit.

       First, the Bankruptcy Court, while a federal court, is an Article I court, not an

Article III court. It is utterly illogical for an Article III court to defer to an Article I

court with respect to federal securities claims against non-debtors that are subject to

the exclusive jurisdiction of the Article III district courts. See 15 U.S.C. §78aa (“The

district courts of the United States . . . shall have exclusive jurisdiction of violations

of this [1934 Act] or the rules and regulations thereunder.”).

       Second, the Bankruptcy Court is not a viable alternative forum. Defendants-

Appellees’ distinction between state courts and federal courts is premised on the

flawed assumption that this matter is being litigated in an alternative federal forum.

But that is untrue because the claims at issue in this action—claims against more

than 40 non-Debtor Defendants—are not being (as they cannot be) litigated in the

Bankruptcy Court.

       Critically, numerous class members in this action did not file claims in the

PG&E bankruptcy case. The Stay completely frustrates those litigants’ ability to

have their claims litigated against the non-Debtor Defendants in the District Court—

claims that are not subject to review by the Bankruptcy Court. The District Court’s

assumption that efficiency can be gained through a separate litigation against only

two Defendants is utterly indefensible at least as to these class members. As such,

the Stay is an improper abdication of the District Court’s duty. See Dependable


                                             7
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 14 of 35




Highway, 498 F.3d at 1066-67 (reversing stay as “abuse of discretion” where there

was a more than a “fair possibility” the stay would “work damage” to plaintiffs). 3

      C.     The Stay Falls Outside of the Court’s Reasonable Discretion
             Because It Prejudices Plaintiffs-Appellants While Offering No
             Benefits

      The Stay should be reversed as an abuse of discretion because the claimed

reason for the Stay misunderstands the facts and law.

      First, the Stay cannot create efficiency by resolving legal or factual issues.

Thousands of putative class members are not parties to the PG&E bankruptcy case,

and many had no real opportunity to timely file claims in that action. See OB at 40

n.14. Therefore, even if certain issues that overlap between the actions could be

resolved by the bankruptcy against the Debtors, those issues will need to be revisited

by the District Court, a duplication of effort that renders any supposed efficiency

illusory. To reach a finding that there is any efficiency in waiting for the Bankruptcy

Court to proceed ignores the rights of those litigants who are not parties thereto.




3
  While this Court need not search beyond the clear authority provided by Silberkleit,
the facts here support the conclusion that the District Court’s stay is an abdication of
its duty to provide redress to the litigants before it. As noted in the Opening Brief
(OB at 2), this action was filed in 2018 and has had two fully-briefed motions to
dismiss pending since 2019. Yet, the District Court made no substantive rulings for
years. Rather, it stayed the action on the last day before the District Court would be
listed on the Civil Justice Reform Act compilations of cases pending for more than
three years and motions pending for more than six months.
                                           8
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 15 of 35




      Defendants-Appellees have no compelling response to the injustice the Stay

imposes on these absent class members. In a footnote, they state: “There is no

evidence, however, that such absent class members exist.” Opp. at 37 n.7. But only

about 8,848 class members filed proofs of claim in the PG&E bankruptcy and, based

on participation rates in reasonably comparable securities class action settlements,

the expected number of claims in this action should be nearly ten times that figure.

See infra at Section II.A.1.

      Second, in its initial request for briefing on a potential stay, the District Court

acknowledged that “Defendants expect that the ongoing bankruptcy claim process

will affect, among other things, the size and potential damage claims of the putative

classes in this action.” 2-ER-119 [ECF No. 198]. This purported efficiency is

arguably distinct from the prospect of the Bankruptcy Court actually deciding issues

of law but is equally meritless to support the Stay. The entire notion of a class action

is that claims can be litigated on behalf of the entire class—adding or reducing

individual absent class members from a class action has no material effect on the

overall use of judicial or party resources in the litigation of that action.

      Third, as to all class members, any supposed efficiency of the Stay is illusory

given the glacial pace of the PG&E bankruptcy case. The District Court action is

well ahead of the bankruptcy claims reconciliation process, with motions to dismiss

that are fully briefed and have been submitted for decision for over three years,


                                            9
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 16 of 35




whereas the PG&E debtors have not yet initiated any substantive proceedings on the

merits in connection with their bankruptcy cases. Waiting for the bankruptcy to

resolve will take many years, as confirmed by the Plaintiffs-Appellants’

uncontroverted expert evidence that the bankruptcy ADR Process alone is likely to

take four to seven years to resolve, before any remaining claims reconciliation even

begins. 2-ER-47-49 [ECF No. 203 at 12-14]; 2-ER-42-45 [ECF No. 203 at 7-10].

      The Opposition contends in a footnote that “[n]either the District Court nor

this Court is required to blindly accept Appellants’ declarant’s estimate of the likely

duration of the stay, even if it was ‘uncontradicted.’” Opp. at 23 n.4 (citations

omitted). However, that case law merely reflects the uncontroversial proposition

that a finder of fact need not accept evidence that is “contrary to his best judgment.”

Id. (citing Maison v. Confederated Tribes of Umatilla Indian Reservation, 314 F.2d

169, 173 (9th Cir. 1963), disapproved of on other grounds by Puyallup Tribe v. Dep’t

of Game of Wash., 391 U.S. 392, 401 n.14 (1968)). Notably, Defendants-Appellees

offer no alternative explanation of the likely length of the bankruptcy proceedings,

and the Court should credit the only relevant explanation on that issue—Plaintiffs-

Appellants’ uncontroverted expert evidence. Moreover, the precise length of the

stay is not the relevant issue. The issue is that the evidence submitted by Plaintiffs-

Appellants strongly supports the clear conclusion that it will take years for the ADR

and claims reconciliation processes in the PG&E bankruptcy case to be resolved—


                                          10
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 17 of 35




far more than the 18 months Blue Cross found to be “sufficient” to find a stay

“lengthy and indefinite.” 490 F.3d at 724.

      That the bankruptcy proceedings will last years is highlighted by the number

of delays that have already arisen due to extensions sought in those proceedings to

date, including recently on May 17, 2023, when the Reorganized Debtors filed their

sixth motion to extend the claims objection deadline (this time to December 18,

2023). See Motion for Entry of an Order Further Extending Deadline for the

Reorganize Debtors to Object to Claims and for Related Relief, In re PG&E Corp.,

No. 19-30088 (Bankr. N.D. Cal. May 17, 2023) Bankr. ECF No. 13745. The hearing

on this newest extension request is currently scheduled for June 7, 2023.

      Fourth, Plaintiffs-Appellants will be prejudiced by this delay in ways that

outweigh any potential (not to mention actual) efficiency benefits from the Stay. As

explained in the Opening Brief, there are limited insurance funds available to pay

claimants, and those funds are being depleted. Defendants-Appellants respond that

Plaintiffs-Appellants do not have an “entitlement” to these insurance proceeds. Opp.

at 44. This misses the point. The claim is not that Plaintiffs-Appellants are being

kept from that to which they are entitled—this is not a conversion issue. Rather, the

issue is that as the insurance proceeds are used to satisfy claims in the PG&E

bankruptcy case, the ability to pursue gainful recovery in the District Court action

may be diminished, resulting in a real practical prejudice. Making matters worse,


                                         11
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 18 of 35




the PG&E debtors recently reached a policy settlement with numerous insurance

carriers and used more than $100 million of insurance proceeds to settle certain

derivative claims. See OB at 37-38.

      Defendants-Appellees argue that Plaintiffs-Appellants have not cited case law

showing this hardship constitutes “prejudice.” Id. Their response is bizarre because

hardship is prejudice—the only variable is severity. The question is whether the Stay

is fair to the interests of the litigants, whatever those interests may be. Regardless,

there are many cases establishing that stays frustrating collectability impose real

hardship on plaintiffs. E.g., Order re Lead Plaintiff’s Motion to Lift PSLRA Stay on

Discovery, In re Mercury Interactive Corp. Sec. Litig, No. 5:05-cv-3395, slip op. at

3 (N.D. Cal. Dec. 11, 2006) ECF No. 172 (lifting PSLRA discovery stay to avoid

“the prejudice that would occur” if defendants “exhaust the D&O insurance limits”);

In re Worldcom, Inc. Sec. Litig., 234 F. Supp. 2d 301, 305-306 (S.D.N.Y. 2002)

(concerns that litigants would be prejudiced in collectability as others deplete

corporate resources justified lifting PSLRA discovery stay).

II.   THIS COURT HAS JURISDICTION OVER THIS APPEAL

      The District Court’s stay is appealable under either of two doctrines of

appellate jurisdiction. Defendants-Appellees’ efforts to escape review of the Stay

on jurisdictional grounds are meritless.




                                           12
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 19 of 35




       A.     Jurisdiction Under Moses & Blue Cross

       First, this Court has jurisdiction over this appeal under Moses H. Cone

Memorial Hospital v. Mercury Construction Corp., 460 U.S. 1, 10 (1983) (“Moses”),

and Blue Cross & Blue Shield of Alabama v. Unity Outpatient Surgery Center, Inc.,

490 F.3d 718, 723 (9th Cir. 2007) (“Blue Cross”).4

       The rules permitting appellate review of certain stays are important

protections for litigants. Those rules respect the long-standing principle that where

a district court has jurisdiction over a matter, it generally does not have discretion to

refuse to permit litigants to proceed. See Cohens v. Virginia, 19 U.S. 264, 404 (1821)

(district courts “have no more right to decline the exercise of jurisdiction which is

given, than to usurp that which is not given.”); Sherwood, 148 U.S. at 534 (district

courts are “bound to proceed to judgment and to afford redress to suitors before them

in every case to which their jurisdiction extends. They cannot abdicate their

authority [to] . . . another jurisdiction.”) (citations omitted). 5

       Blue Cross clarified that “lengthy and indefinite stays place a plaintiff

effectively out of court[,] amount[] to a refusal to proceed to a disposition on the


4
  Moses is grounded in an exception to the final judgment rule that recognizes that
stays may practically put a litigant out of court and because such appeals meet the
requirements of the doctrine set forth in Cohen v. Beneficial Industrial Loan Corp.
See Moses, 460 U.S. at 9–12 (citing 28 U.S.C. § 1291; Cohen v. Beneficial Indus.
Loan Corp., 337 U.S. 541 (1949)).
5
  Of course, there are narrowly tailored abstention doctrines, but neither the District
Court nor any party has suggested any such doctrine applies here. See OB at 27-28.
                                             13
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 20 of 35




merits[,]” and, therefore, are subject to appellate review. Blue Cross, 490 F.3d at

724. 6 Thus, Blue Cross recognized that the obligation to permit litigants to proceed

encompasses both delays that will essentially permanently abdicate a district court’s

duties, as well as those that will—through lengthy delay—functionally deprive

plaintiffs of their right to proceed in their chosen forum in a timely manner. 7

      The Blue Cross decision was expressly grounded on the risks to plaintiffs

imposed by delay, clarifying that its reasoning is based on the delay itself, not

estoppel concerns. The Blue Cross decision recognizes that a lengthy or indefinite

stay amounts to a refusal to proceed to a disposition on the merits, holding that

“[e]ven if litigation may eventually resume, such stays create a ‘danger of denying

justice by delay.’” Blue Cross, 490 F.3d at 724 (citation omitted).        Blue Cross




6
  Moses held that stays may be subject to appellate review where they effectively
render a litigant out of court because such stays—even if not permanent—fall within
the statutory grant of appellate jurisdiction over final judgments. Moses, 460 U.S.
at 9-10. In Moses, the stay had been granted to permit a state court to first decide an
issue that would be binding upon the District Court. Id. However, Moses left some
uncertainty as to whether appellate review of stays was limited to situations with
such estoppel considerations or whether appellate jurisdiction requires a showing
that a lower court had essentially permanently abdicated its duty to permit litigants
to proceed.
7
  Accord Davis v. Walker, 745 F.3d 1303, 1308-09 (9th Cir. 2014); King v. Cessna
Aircraft Co., 505 F.3d 1160, 1165-69 (11th Cir. 2007); Rojas-Hernandez v. Puerto
Rico Elec. Power Auth., 925 F.2d 492, 493-95 (1st Cir. 1991); Hines v. D’Artois,
531 F.2d 726, 730 (5th Cir. 1976); Am. Mfrs. Ins. Co. v. Edward D. Stone, Jr. &
Assoc., 743 F.2d 1519, 1523-24 (11th Cir. 1984).
                                          14
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 21 of 35




further emphasized this point by noting ways in which delay may prejudice a

plaintiff—e.g., fading memories and risks to ultimate judgment collection. Id.

        Defendants-Appellees do not dispute that “lengthy and indefinite” stays are

subject to appellate review. Opp. at 20, 22. Nor do they dispute that the Stay at

issue—lasting until PG&E’s massive bankruptcy is fully resolved, which will take

years—is “lengthy.” Id. at 22-23; see also OB at 22 (explaining that this Stay has

already lasted months, and uncontroverted experts demonstrate it is likely to last

many more years). The propriety of appellate jurisdiction here is not subject to

legitimate dispute.

        Defendants-Appellees attempt to challenge the applicability of Blue Cross in

three narrow ways: first, by arguing that despite the Stay Plaintiffs-Appellants are

not “out of court” (Opp. at 21); second, by disputing whether the Stay is “indefinite”

(see id. at 22); and third, by arguing that, notwithstanding Blue Cross, Plaintiffs-

Appellants must make an additional showing (beyond delay) further demonstrating

the Court’s abdication of its duty to rule on the merits (id. at 23). These arguments

fail.

              1.      The Stay Has Placed Plaintiffs-Appellants “Out of Court”

        Defendants-Appellees argue that because the bankruptcy of just two

Defendants is ongoing, Plaintiffs-Appellants (and class members) are not actually




                                         15
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 22 of 35




“out of court,” and thus the stay order falls outside the scope of Blue Cross. Id. at

21.

      Defendants-Appellees’ misconstrue the use of the term “out of court” as an

invitation to probe whether a litigant may seek any redress, however minimal, in

some forum. By Defendants-Appellees’ estimation, the ability to pursue some

claims against just two Defendants—out of more than 40—is sufficient to escape

appellate review of the District Court’s stay under Blue Cross. In their view, Blue

Cross asks only whether a litigant has some avenue to litigate a subset of its claims.

If the answer is yes, a “lengthy and indefinite” stay that locks the litigant out of its

chosen Article III forum for years as to dozens of non-Debtor Defendants and thus

“amounts to a refusal to proceed to a disposition on the merits[,]” Blue Cross, 490

F.3d at 724, nevertheless becomes inviolate.

      The irrationality of Defendants-Appellees’ alternative interpretation is evident

on its face. Their interpretation would drive a hole through Blue Cross. That is

highlighted by the fact the District Court, an Article III court, has exclusive

jurisdiction over the securities claims 8 against more than 40 Defendants that are



8
  15 U.S.C. §78aa (“The district courts of the United States . . . shall have exclusive
jurisdiction of violations of this [1934 Act] or the rules and regulations thereunder”);
see also 13 Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Juris. § 3527
Exclusive Federal Court Jurisdiction (3d ed. Apr. 2022 update) (Congress has
“require[d] that the substantive right be prosecuted exclusively in the federal district
courts”).
                                          16
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 23 of 35




entirely outside the scope of the bankruptcy proceedings of just two Defendants. See

OB at 26. The Opposition does not point to a single case in which a district court

stayed claims against non-debtors, within its exclusive Article III jurisdiction, in

favor of the resolution of claims solely against debtors in a bankruptcy proceeding

in an Article I court.

      Even if one were to accept Defendants-Appellees’ misinterpretation of “out

of court” to mean that stays are not subject to Blue Cross review when the litigant

has some access—however slight—to an alternative forum, this would be of no

moment here, because Plaintiffs-Appellants cannot proceed in the PG&E

bankruptcy against more than 40 non-Debtor Defendants. The only active avenue

for redress in those proceedings is an ADR process from which Plaintiffs-Appellants

have been explicitly excluded, and which, like the PG&E bankruptcy as a whole,

involves only claims against the two PG&E debtors. 2-ER-48-50 [ECF No. 203 at

13-15]. “[D]enying justice by delay” is no less prejudicial merely because the

plaintiff was offered some opportunity to settle, mediate, or arbitrage, no matter how

unfair or illusory that offer may be. Blue Cross, 490 F.3d at 724 (citation omitted).

      Defendants-Appellees’ argument is especially nonsensical when one

considers that Plaintiffs-Appellants, as court-appointed Lead Plaintiff in this

securities action, have a fiduciary duty to represent the interests of other putative

class members. The Supreme Court has recognized the “responsibility of named


                                         17
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 24 of 35




plaintiffs   to    represent    the    collective    interests    of    the    putative

class.” Deposit Guar. Nat’l Bank v. Roper, 445 U.S. 326, 331 (1980); see also

Jacobson v. Persolve, LLC, No. 14–CV–00735–LHK, 2014 WL 4090809 at *5

(N.D. Cal. Aug. 19, 2014) (similar). Putative class members who have not filed

claims in the PG&E bankruptcy (to recover from the PG&E debtors) 9 are 100% fully

and completely “out of court” at this time. They have no present opportunity to

litigate viable claims that Plaintiffs-Appellants have asserted in the District Court on

their behalf against more than 40 Defendants.

       In addition to those putative class members that filed claims in the PG&E

bankruptcy case, it is obvious that many class members exist who did not file

bankruptcy claims. There is a large gap between the quantity of claims filed in

securities settlements of reasonably comparable scale and the number of claims filed

in the PG&E bankruptcy.        For example, Lead Counsel is aware of fourteen

settlements of cases alleging Section 10(b) claims that (a) settled in 2022, (b) have

resulted in a distribution of settlement proceeds (meaning there is public data on the




9
  There could be several reasons why claimants might choose not to file a claim in
the bankruptcy action. For example, as Plaintiffs-Appellants noted in their Opening
Brief, thousands of putative Class members were unable to timely file claims in
bankruptcy court because PG&E gave inadequate notice of the bankruptcy bar date.
OB at 40 n.14.
                                          18
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 25 of 35




number of claims filed), and (c) settled for more than $10 million. 10 Of those, the

median and mean numbers of claims submitted were 67,989 and 114,943

respectively, compared to approximately 8,848 securities claims (including

duplicates) in the PG&E bankruptcy case, meaning less than 10% of the expected

claimants in the securities action have filed bankruptcy claims against the PG&E

debtors. See Bankr. ECF No. 13745. Of course, the exact number here is imprecise

and irrelevant to the broader point that there are a vast number of class members

here who are not bankruptcy claimants.

      For these reasons, the Court should reject Defendants-Appellees’ argument

that Blue Cross is not implicated here. Beyond being based on the false premise that

the Bankruptcy Court is a viable alternative forum, that argument also misconstrues



10
   See, e.g., Deka Inv. GmbH v. Santander Consumer USA Holdings Inc., No. 3:15-
cv-02129-K, Dkt. No. 268-1 (S.D. Tex.); In re Avon Prods. Inc. Sec. Litig., No. 1:19-
cv-01420-MKV, Dkt. No. 102 (S.D.N.Y.); Pearlstein v. Blackberry Ltd., No. 1:13-
cv-07060-CM, Dkt. No. 840 (S.D.N.Y.); In re Perrigo Co. PLC Sec. Litig., No. 1:19-
cv-00070-DLC, Dkt. No. 338 (S.D.N.Y.); In re Spectrum Brands Sec. Litig., No.
3:19-cv-00347-JDP, Dkt. No. 127 (W.D. Wis.); Police Ret. Sys. of St. Louis v.
Granite Constr. Inc., No. 3:19-cv-04744-WHA, Dkt. No. 308-2 (N.D. Cal.); Peace
Officers’ Annuity & Benefit Fund of Ga. v. DaVita Inc., No. 1:17-cv-00304-WJM-
NRN, Dkt. No. 128-1 (D. Colo.); In re Snap Inc. Sec. Litig., No. 2:17-cv-03679-
SVW-AGR, Dkt. No. 405-2 (C.D. Cal.); In re Chi. Bridge & Iron Co. N.V. Sec. Litig.,
No. 1:17-cv-01580-LGS, Dkt. No. 449 (S.D.N.Y.); SEB Inv. Mgmt. AB v. Align
Tech., Inc., No. 3:18-cv-06720-VC, Dkt. No. 222-1 (N.D. Cal.); SEB Inv. Mgmt. AB
v. Symantec Corp., No. 3:18-cv-02902-WHA, Dkt. No. 436 (N.D. Cal.); In re Baxter
Int’l Inc. Sec. Litig., No. 1:19-cv-07786, Dkt. No. 78 (N.D. Ill.); Klein v. Altria Grp.,
Inc., No. 3:20-cv-00075-DJN, Dkt. No. 325 (E.D. Va.); In re CenturyLink Sales
Pracs. & Sec. Litig., No. 0:18-cv-00296-MJD-JFD, Dkt. No. 385 (D. Minn.).
                                           19
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 26 of 35




the meaning of being “out of court,” and would drive a massive hole through Blue

Cross. That would be especially prejudicial here, where the District Court has

exclusive jurisdiction over claims against more than 40 Defendants that are not

debtors in PG&E’s bankruptcy. For their claims against more than 40 Defendants

that are not debtors, Plaintiffs-Appellants and many class members have no recourse

in the PG&E bankruptcy, and thus, they are “out of court” under any rational

interpretation of that phrase.

             2.     Defendants-Appellees’ “Indefinite” Argument Is Meritless

      Defendants-Appellees argue that Blue Cross addresses only stays that are both

lengthy and indefinite, and that this Stay falls outside Blue Cross because it is not

“indefinite.” This argument fails for two reasons.

      First, Defendants-Appellees’ interpretation makes no sense given that an

indefinite period of time is one that is unknown, while a lengthy period is one that

has a set period of time. Indeed, in its first use of the term “indefinite,” the Blue

Cross court wrote that it was considering whether there is appellate jurisdiction over

stays that “impose lengthy or indefinite delays.” 490 F.3d at 723 (emphasis added).

And while the Blue Cross court later used the phrase “lengthy and indefinite,” there

is no indication it intended to treat these terms as separate elements. Id. at 724. Nor

would such an interpretation be consistent with this Court’s express recognition in

Blue Cross that stays lasting longer than 18 months are “sufficient to place the


                                          20
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 27 of 35




plaintiffs effectively out of court[,]” a conclusion that has nothing to do with whether

the stay is “indefinite.” Id.

      This Court generally has not interpreted Blue Cross to require any special

showing of indefiniteness to justify appellate review. See, e.g., Stanley v. Chappell,

764 F.3d 990, 995 (9th Cir. 2014) (recognizing appellate jurisdiction over stay orders

that “impose a lengthy or indefinite delay”) (emphasis added). 11

      Treating the term “indefinite” as an independent required element also would

make no sense from a policy perspective. Blue Cross made its rationale clear: the

Court was concerned with “denying justice by delay.” 490 F.3d at 724 (citation

omitted). That concern does not hinge on whether a delay is “indefinite,” and given

this Court’s rationale, the use of the term “indefinite” can only reasonably be

interpreted to refer to long stays regardless of whether their precise length is known.

This can be demonstrated by hyperbolic example—a stay order lasting ninety-nine

years and forty days is lengthy, but also “definite.” Defendants-Appellees cannot

contend that such a stay would avoid review under Blue Cross purely because it has

a fixed period.


11
   Defendants’ only other support for their alternative interpretation of Blue Cross is
a stray quotation from Davis, 745 F.3d at 1309. See Opp. at 22. However, that line
merely indicated that the stay at issue there was lengthy and indefinite, without
providing any additional support for the notion that the term “indefinite” sets out a
separate test or requirement beyond establishing that the stay is long in duration—
and as noted, Davis placed weight on the presumption that the stay was entitled to
appellate review based on its duration of more than 18 months.
                                          21
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 28 of 35




      Second, Defendants-Appellees’ interpretation also falls apart because they

offer no definition of “indefinite,” a vague concept that Blue Cross did not define

further. The fact that the Court did not define “indefinite” in detail supports the

notion it never intended that term to take on independent significance.

      The dictionary definition of “indefinite” refutes Defendants-Appellees’

interpretation as well: the term refers to something (A) that is “not precise” or (B)

“having no exact limits.” 12 Here, the Stay—lasting until the bankruptcy proceedings

resolve at some unspecified time in the future—meets either definition. The District

Court provided no clarity as to which specific events in the bankruptcy proceedings

must occur to mark the end of the Stay, there is absolutely no certainty as to when

those events will occur (and Plaintiffs-Appellants’ uncontroverted expert evidence

establishes that they will not occur until many years in the future), and the actual

time required to resolve the claims is largely in PG&E’s hands, further adding to the

uncertainty of when matters will be resolved. Thus, even if “indefinite” were an

independent element, it would be readily satisfied here.

      Defendants-Appellees insinuate that “indefinite” should be taken to mean

“infinite” (Opp. at 22)—i.e., that there is only Blue Cross review where the stay will

never end. Such a rule would swallow both Moses and Blue Cross by conflating



12
  Indefinite, Merriam-Webster.com, https://www.merriam-webster.com/
dictionary/indefinite (last visited May 29, 2023).
                                         22
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 29 of 35




“indefinite” stays with permanent stays and injunctions.           That notion also

presupposes that “indefinite” is a separate requirement aimed at situations where the

stay itself essentially ends the litigation by leaving it in limbo forever. That may

have been a colorable argument prior to Blue Cross, when it was unclear whether

the prejudice of delay was a proper basis on which to invoke the Moses appellate

jurisdiction doctrine. But Blue Cross clarified that substantial delay is itself the

policy concern at issue, not merely a complete abdication of any willingness to

eventually rule. Blue Cross, 490 F.3d at 724. Moreover, that flawed interpretation

is foreclosed by Blue Cross, where, as here, there was a condition precedent to the

District Court taking up the issue again at some unspecified future time—there, the

resolution of criminal proceedings against the defendants. Id.

             3.     Plaintiffs-Appellants Need Not Provide Additional Evidence
                    of Abdication by the District Court

      Relying exclusively on Stanley, Defendants-Appellants argue that delay is not

a basis for appellate jurisdiction over a stay, and that an appellant must also make an

additional showing regarding the court’s “refusal to proceed to a disposition on the

merits.” Opp. 23 (quoting Stanley, 764 F.3d at 995). Stanley does not stand for such

a rule but does require some analysis.

      To accept Defendants-Appellees’ interpretation of Stanley would be to accept

that it fully overturned Blue Cross—which it clearly did not do. Rather, Stanley

relies extensively on Blue Cross and does not hint at any intent to overturn it. The

                                          23
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 30 of 35




very fact that made Blue Cross a landmark case was that it formally recognized that

the imposition of a lengthy stay may itself interfere and may work injustice by delay

sufficient to warrant appellate review of whether the district court’s decision was an

abuse of discretion. To graft a requirement onto Blue Cross also requiring some

further showing of abdication reads Blue Cross out of the analysis entirely.

      The proper interpretation of Stanley is that it merely speaks to an exception to

Blue Cross—suggesting that where a stay promotes adjudication on the merits, Blue

Cross does not permit appeal. This interpretation follows from the facts of Stanley.

There, the stay was imposed following the district court’s partial remand of a habeas

petition to a state court and after the defendant had raised a challenge regarding the

state court’s adjudication of a competency proceeding. Stanley, 764 F.3d at 992.

The federal habeas petition was subject to state-law exhaustion requirements—

meaning that the district court could either stay and hold federal proceedings in

abeyance to allow exhaustion of state remedies on precisely the same claims raised

in federal court or dismiss the petition for lack of exhaustion. Id. On those facts,

the decision to stay strongly showed a preference to decide the matter on the merits

rather than “surrender jurisdiction of a federal suit to a state court.” Id. at 995

(quoting Moses H. Cone, 460 U.S. at 10 n. 11). Thus, Stanley merely implemented

a narrow exception to Blue Cross. That exception is inapplicable here.




                                         24
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 31 of 35




        Finally, even if one were to accept that Stanley requires a showing that the

District Court’s decision is grounded in an abdication of its duty to rule on issues

before it, Plaintiffs-Appellants make that showing here. See Section I.B, supra.

        B.    Jurisdiction Under Cohen

        The Stay is also independently appealable under Cohen. 337 U.S. at 546. “To

fall within the small class of collateral orders that may be immediately appealed

under Cohen, the order must (1) conclusively determine the disputed question, (2)

resolve an important issue completely separate from the merits of the action, and (3)

be effectively unreviewable on appeal from a final judgment.” Davis, 745 F.3d at

1309.

        Defendants-Appellees’ only challenges to the second element of that test

tacitly concede that the other two elements are met for the reasons stated in the

Opening Brief. Opp. at 24; OB at 23–25. On that second element, the Opposition

argues that loss of a federal forum is not a sufficiently important issue to justify

independent review under Cohen. Opp. at 24. But here the Stay has not only caused

the loss of one Article III forum in favor of an equally valid alternative forum, it has

caused the loss (for at least the lengthy duration of the Stay) of any viable forum to

pursue these claims. The Bankruptcy Court is not a viable alternative forum for any

claims other than those against the two PG&E debtors. As an Article I court, the

Bankruptcy Court will not and cannot address Plaintiffs-Appellants’ claims against


                                          25
        Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 32 of 35




more than 40 non-Debtor Defendants, which claims will simply be sidelined for an

indefinite period.

       Furthermore, this Stay is an abdication of the District Court’s duty to decide

the matter before it, which is an independent basis to review the matter. See Section

I.B.

III.   CONCLUSION

       For the foregoing reasons, and the reasons in the Opening Brief, this Court

should reverse the decision below and remove the Stay.

Dated: May 30, 2023                    Respectfully submitted,
                                       LABATON SUCHAROW LLP
                                 By:   /s/ Thomas A. Dubbs
                                       Thomas A. Dubbs
                                       Carol C. Villegas
                                       Jeffrey A. Dubbin
                                       140 Broadway
                                       New York, NY 10005
                                       212-907-0700
                                       tdubbs@labaton.com
                                       cvillegas@labaton.com
                                       jdubbin@labaton.com
                                       Lead Counsel for Securities Lead
                                       Plaintiff-Appellant PERA and the Class

                                       WAGSTAFFE, VON LOEWENFELDT,
                                        BUSCH & RADWICK, LLP
                                       James M. Wagstaffe (SBN 95535)
                                       Frank Busch (SBN 258288)
                                       100 Pine Street, Suite 725
                                       San Francisco, CA 94111
                                       415-357-8900
                                       wagstaffe@wvbrlaw.com
                                       busch@wvbrlaw.com
                                       Liaison Counsel for the Class

                                         26
Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 33 of 35




                               ROBBINS GELLER RUDMAN
                                 & DOWD LLP
                               Darren J. Robbins (SBN 168593)
                               Brian E. Cochran (SBN 286202)
                               655 West Broadway, Suite 1900
                               San Diego, CA 92101
                               619-231-1058
                               darrenr@rgrdlaw.com
                               bcochran@rgrdlaw.com

                               ROBBINS GELLER RUDMAN
                                 & DOWD LLP
                               Willow E. Radcliffe (SBN 200089)
                               Kenneth J. Black (SBN 291871)
                               Post Montgomery Center
                               One Montgomery Street, Suite 1800
                               San Francisco, CA 94104
                               415-288-4545
                               willowr@rgrdlaw.com
                               kennyb@rgrdlaw.com
                               Counsel for Securities Act
                               Plaintiffs-Appellants

                               VANOVERBEKE, MICHAUD
                                 & TIMMONY, P.C.
                               Thomas C. Michaud
                               79 Alfred Street
                               Detroit, MI 48201
                               313-578-1200
                               tmichaud@vmtlaw.com
                               Additional Counsel for Securities Act
                               Plaintiffs-Appellants




                                 27
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 34 of 35




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief conforms to all formatting and length

requirements contained in Rule 32(a) of the Federal Rules of Appellate Procedure.

The length of this brief is 6,499 words.


                                                /s/ Thomas A. Dubbs
                                                Thomas A. Dubbs
                                                LABATON SUCHAROW LLP
                                                140 Broadway
                                                New York, NY 10005
                                                Telephone: (212) 907-0700
                                                Email: tdubbs@labaton.com




                                           28
       Case: 22-16711, 05/30/2023, ID: 12725036, DktEntry: 35, Page 35 of 35




                         CERTIFICATE OF SERVICE

      I hereby certify that on May 30, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Ninth

Circuit by using the appellate CM/ECF system.

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                                              /s/ Thomas A. Dubbs
                                              Thomas A. Dubbs
                                              LABATON SUCHAROW LLP
                                              140 Broadway
                                              New York, NY 10005
                                              Telephone: (212) 907-0700
                                              Email: tdubbs@labaton.com




                                         29
